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                                                      March 14, 2025

VIA CM/ECF

The Honorable Joan M. Azrack
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

       Re:      United States v. Edward Mangano, No. 2:16-cr-00540-JMA-SIL

Dear Judge Azrack:

        We write regarding the Court’s March 11, 2025 Order scheduling re-sentencing in this
matter for April 15, 2025 and directing the parties to submit any supplemental sentencing
submissions by April 1. For the reasons set forth below, we respectfully request an adjournment
of the current schedule.

        As the Court is no doubt aware, on February 13, 2025, the Second Circuit Court of
Appeals reversed Mr. Mangano’s convictions on Counts One and Two, but affirmed his
convictions on Counts Three through Seven. Following the Court’s decision, and prior to the
issuance of a mandate, the parties each requested, and the Court of Appeals granted, an extension
of time to March 31, 2025, to file petitions for rehearing and/or en banc review. 2d Cir. Dkt. No.
312. While we understand that the government is awaiting direction from the Solicitor General
as to whether it will actually seek en banc review, Mr. Mangano most certainly will seek
rehearing. Pursuant to Federal Rule of Appellate Procedure 41(b), the Court of Appeals will not
issue its mandate until such petitions are resolved, and given the current schedule that is
extremely unlikely to occur by April 15, and in no event before April 7. In the Second Circuit
“[a] district court does not regain jurisdiction until the issuance of the mandate by the clerk of the
court of appeals. ‘Simply put, jurisdiction follows the mandate.’” United States v. Rodgers, 101
F.3d 247, 251 (2d Cir. 1996) (citation omitted); accord United States v. Calcano, No. S17 98
CR. 438 (PGG), 2014 WL 148637, at *3 (S.D.N.Y. Jan. 15, 2014) (“The district court, of course,
has no jurisdiction until after a mandate issues.”). Accordingly, this Court likely will not have
jurisdiction to resentence Mr. Mangano on the current schedule.

        Beyond the legal barrier to moving forward as scheduled, there are several practical
considerations at play as well. Mr. Mangano is presently serving his sentence in Devens Federal
Medical Camp outside of Boston. In order to provide Your Honor with a thorough sentencing
submission for the upcoming plenary resentencing, counsel will need to meet with Mr. Mangano,
gather relevant records and letters of support, and draft our submission. It would be
impracticable to complete that process in just two weeks, particularly given that the undersigned


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has a long-planned family vacation scheduled for the week of March 17. Moreover, on March
10, 2025, the Probation Department issued a supplemental sentencing recommendation, without
any prior notice to, or input from, the defense. Notably, despite the fact that two of the charges
against Mr. Mangano have now been reversed, the Probation Department’s recommendation has
somehow increased since its last recommendation in 2022. In any event, we would request a
meaningful amount of time to provide mitigating information to the Probation Department, and
for the Probation Department to consider that information and respond. Finally, we would note
that after a decade-long legal fight and over two years in custody, Mr. Mangano has extremely
limited financial resources. Given that there is still litigation pending before the Second Circuit
which could conceivably dispense with the need for resentencing, we would ask that the court
wait to schedule it and set a deadline for sentencing submissions until such litigation is complete.

        Accordingly, for the foregoing reasons, we respectfully request that the Court vacate the
current scheduling Order and instead schedule a status conference on April 15, 2025, so the
parties can provide the Court with an update regarding further developments before the Court of
Appeals. We have consulted with the government regarding this proposal, and it has no
objection.

                                              Respectfully submitted,

                                              WILSON SONSINI GOODRICH & ROSATI
                                              Professional Corporation

                                              s/ Morris J. Fodeman
                                              Morris J. Fodeman

                                              Counsel for Edward Mangano


cc: All Counsel of Record (via CM/ECF)
